               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JIMMY LEE ALLRED,                   )
                                    )
               Petitioner,          )
                                    )       1:16CV611
     v.                             )       2:94CR175-1
                                    )
UNITED STATES OF AMERICA,           )
                                    )
               Respondent.          )


                    MEMORANDUM OPINION AND ORDER

OSTEEN, JR., District Judge

     Petitioner Jimmy Lee Allred, a federal prisoner, brings a

Motion (Doc. 120) and Amended Motion (Doc. 125) to vacate, set

aside, or correct sentence pursuant to 28 U.S.C. § 2255. In

1990, a jury in this court convicted Petitioner of felony

retaliating against a witness in violation of 18 U.S.C. §

1513(a). Petitioner served his sentence for that conviction but,

four years later, a jury in this court convicted Petitioner of

one count of possession of a firearm after a felony conviction

in violation of 18 U.S.C. § 922(g)(1). He then received a

sentence of 264 months of imprisonment under the Armed Career

Criminal Act (“ACCA”), 18 U.S.C. § 924(e).

     Petitioner’s Presentence Report (Doc. 116) reflects the

bases for the ACCA enhancement were (1) a prior North Carolina

conviction for felony assault with a deadly weapon with intent




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to kill inflicting serious injury (id. ¶ 24), (2) a prior North

Carolina conviction for felony possession with intent to sell

and deliver cocaine (id. ¶ 28), and (3) the prior conviction in

this court for felony retaliating against a witness (id. ¶ 30).

     Petitioner unsuccessfully sought relief through a direct

appeal and two prior motions (Doc. 59, 92) under § 2255 before

filing a motion with the United States Court of Appeals for the

Fourth Circuit seeking authorization to file a second or

successive § 2255 motion under 18 U.S.C. §§ 2244 and 2255(h). In

that filing, he claimed that his sentence under the ACCA is

longer valid following Johnson v. United States, 576 U.S. ____,

135 S. Ct. 2551 (2015).    The Fourth Circuit granted the

authorization based on Petitioner having made a prima facie

showing that Johnson might affect his case.

     Following the Fourth Circuit’s authorization, Petitioner

filed a paper-writing which the court construed as his current

motion (Doc. 120) under § 2255. In that filing, he states that

he seeks to raise a claim that his “prior conviction for witness

retaliation is under a broad statute that punishes one for force

against property as well as persons” and that “under Descamps v.

United States [570 U.S. 254 (2013)], the statute is not

divisible and, therefore, no longer a crime of violence in light

of Johnson.” (Doc. 120 at 1.) “Specifically, [the statute]

leaves open the possibility [Petitioner] was convicted for

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retaliating by damaging the victim[’]s property rather than

[her] person.” (Id.) The court later docketed an Amended Motion

(Doc. 125) which it received from the Fourth Circuit. The

Amended Motion, which Petitioner originally submitted to the

Fourth Circuit as part of his motion seeking authorization to

file his successive § 2255 Motion, raises a single claim for

relief which states only that Petitioner was sentenced under the

ACCA based in part on a prior conviction under what was then 18

U.S.C. § 1513(a)(1), which stated that “[w]hoever knowingly

engages in any conduct and thereby causes bodily injury to

another person or damages the tangible property of another

person, or threatens to do so, with intent to retaliate against

any person for” being a witness, party, or informant in federal

proceedings may be fined and imprisoned for up to ten years. 1

(Doc. 125 at 4.) 2 Petitioner does not explicitly identify any

problem with this predicate conviction in the portion of the

Amended Motion listing grounds for relief. However, considering

Petitioner’s pleadings as a whole, Petitioner sets out a single




     1
      Congress later recodified the provision as 18 U.S.C.
§ 1513(b)(1), but the quoted portion of the statute remained
unchanged.
     2
      All citations in this Memorandum Opinion and Order to
documents filed with the court refer to the page numbers located
at the bottom right-hand corner of the documents as they appear
on CM/ECF.

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ground for relief alleging that his conviction for retaliating

against a witness is not a violent felony, and therefore not a

valid ACCA predicate following Johnson.

      Under the ACCA, 18 U.S.C. § 924(e)(1), a defendant is

subject to enhanced sentencing penalties if he has three prior

convictions for a “violent felony or a serious drug offense, or

both, committed on occasions different from one another . . . .

”   A crime is a serious drug offense for purposes of 18 U.S.C.

§ 924(e) if it is one “involving manufacturing, distributing, or

possessing with intent to manufacture or distribute, a

controlled substance” and is a crime “for which a maximum term

of imprisonment of ten years or more is prescribed by law.” 18

U.S.C. § 924(e)(2)(A))(ii). Before Johnson, a crime was a

“violent felony” if it is punishable by imprisonment of more

than a year and “has as an element the use, attempted use, or

threatened use of physical force against the person of another”

(hereinafter “force clause”), “is burglary, arson, or extortion”

(hereinafter “enumerated offenses clause”), or involves the use

of explosives, or “otherwise involves conduct that presents a

serious potential risk of physical injury to another”

(hereinafter “residual clause”).      § 924(e)(1)(B)(i) and (ii).

However, Johnson invalidated as unconstitutionally vague the

residual clause of the statute. Johnson, 135 S. Ct. at 2563. The

remainder of the ACCA stayed intact. Petitioner contends that

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the challenged retaliation predicate was applied in his case

under the stricken residual clause, that § 1513(a)(1) is an

indivisible statute which allows for convictions based on harm

to property or threats to harm property, and, therefore, that it

cannot now apply in his case under the force clause of the ACCA. 3

Therefore, if he is correct, his retaliation conviction is not a

proper ACCA predicate and he now has only two of three

predicates necessary to support his enhanced sentence.

     Respondent responded that 18 U.S.C. § 1513(a)(1) is, in its

view, a divisible statute to which the court can apply the

modified categorical approach described in Shepard v. United

States, 544 U.S. 13 (2005), and Mathis v. United States, ____

U.S. ____, 136 S. Ct. 2243 (2016). This approach allows the

court to use the indictment in the retaliation case to determine

whether the portion of the statute under which Petitioner was

convicted is a violent felony under the ACCA. Because that

indictment alleges that Petitioner caused bodily injury to the

witness against whom he retaliated, Respondent asserts that

Petitioner was convicted only under the portion of the statute

relating to bodily injury. It also maintains that this portion

of the statute satisfies the force clause of the ACCA in that it

“has as an element the use, attempted use, or threatened use of


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      There is no question that Petitioner’s retaliation
conviction does not satisfy the enumerated offenses clause.
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physical force against the person of another.” 18 U.S.C. §

924(e)(2)(B). Therefore, Respondent concludes that Petitioner’s

prior conviction under § 1513(a)(1) remains a violent felony

under the ACCA. Respondent does not contest Petitioner’s

argument that he prevails if the statute is not divisible.

     Petitioner maintained in his Reply (Doc. 141) that he still

prevails if the court uses the modified categorical approach

espoused by the Government because even the bodily injury

portion of § 1513(a)(1) allows for convictions based on conduct

deemed not to be a use of physical force for purposes of the

ACCA. The court thereafter ordered further briefing on this

issue in light of United States v. Middleton, 883 F.3d 485 (4th

Cir. 2018), which was decided after the filing of Petitioner’s

Reply. Both parties then filed supplemental briefs maintaining

their respective positions following Middleton. (Docs. 147,

148.) The Government continues to assert that the statute is not

divisible and that the bodily injury portion of the statute

requires sufficient use of physical force. Petitioner insists

that the statute is not divisible and that, even if it is, the

bodily injury portion does not require a sufficient use of

physical force.

     Regarding the divisibility of § 1513(a)(1), the parties

agree that Petitioner is entitled to relief if the statute is

not divisible. Therefore, the court need not make a final

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decision on divisibility unless the Government prevails on the

question of whether the bodily injury portion of the statute

requires the use of physical force.

     Assuming purely for the purposes of discussion that the §

1513(a)(1) is divisible as discussed in Mathis, the statute sets

out four alternative crimes based on four distinct harms -

bodily injury, a threat of bodily injury, damage to tangible

property, and a threat of damage to tangible property. Two of

these harms, damage to tangible property and a threat of damage

to tangible property, cannot possibly support an ACCA predicate

under the force clause because they very clearly do not involve

the “use, attempted use, or threatened use of physical force

against the person of another.” However, as an exhibit to its

Response (Doc. 139), the Government provided the indictment from

Petitioner’s prosecution for retaliating against a witness.

(Id., Attach. 1.) The indictment alleged that Petitioner

“knowingly engaged in conduct and thereby caused bodily injury

to Monica Michelle Warner, with intent to retaliate against

Monica Michelle Warner for attendance as a witness and testimony

given in an official proceeding of the United States District

Court for the Middle District of North Carolina.” (Id.) Based on

that document, which the court may review as part of applying

the modified categorical approach under Shepard, the Government

asserts that Petitioner’s conviction was clearly based on bodily

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injury to a witness and not on any type of property damage.

Petitioner does not deny this or claim that his conviction fell

under any other portion of the statute. Therefore, the court

finds that this was indeed the basis for his prior conviction

for retaliating against a witness in this court.

     The conclusion that Petitioner’s prior conviction involved

the portion of § 1513(a)(1) prohibiting retaliation that causes

bodily injury to a witness does not end matters. This is because

the court, having defined the nature of Petitioner’s conviction,

must still determine whether that “offense ‘sweeps more broadly’

than the ACCA’s definition of a violent felony.” Middleton, 883

F.3d at 488 (citing Descamps v. United States, 570 U.S. 254, 261

(2013)). If so, “the offense does not qualify as an ACCA

predicate.” Id.

     As set out in Middleton,

          The ACCA’s force clause requires “the use,
     attempted use, or threatened use of physical force
     against the person of another.” [18 U.S.C. §
     924(e)(2)(B)(ii)] (emphasis added). Congress did not
     define the term “physical force.” Johnson v. United
     States, 559 U.S. 133, 138(2010) (hereinafter “Johnson
     I”). But the Supreme Court gave the phrase its
     ordinary meaning: “force exerted by and through
     concrete bodies” as opposed to “intellectual force or
     emotional force.” Id. In Johnson I, the Court further
     explained that “because the term ‘physical force’
     contributes to the definition of a ‘violent felony,’
     it is understood to mean ‘violent force — that is,
     force capable of causing physical pain or injury to
     another person.’” United States v. Reid, 861 F.3d 523,
     527 (4th Cir. 2017) (quoting Johnson I, 559 U.S. at
     140). Therefore, “physical force” under the ACCA’s

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     force clause must be both physical (exerted through
     concrete bodies) and violent (capable of causing pain
     or injury to another). De minimus physical force, such
     as mere offensive touching, is insufficient to trigger
     the ACCA’s force clause because it is not violent.

Id. at 488-89 (parallel citations deleted). Further, the fact

that a physical injury occurs does not mean that a defendant

used violent force. “‘[A] crime may result in death or serious

injury without involving the use of physical force.’” Id. at 491

(quoting United States v. Covington, 880 F.3d 129, 134 n.4 (4th

Cir. 2018)). 4 The causation of bodily injury does not necessarily

equal a use of violent force sufficient to satisfy the force

clause.     Instead, the predicate conviction in question must

require a defendant to actually use such force.

     Turning first to the plain language of § 1513(b), it states

only that “[w]hoever knowingly engages in any conduct and

thereby causes bodily injury to another person . . . with intent

to retaliate against any person” for being a witness or

informant is guilty of a felony.         Looking purely at the face of

the statute, it does not require the use of violent force or any

level of force, only “any conduct,” which causes bodily injury.


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      In its Supplemental Response (Doc. 148), the Government,
relying on the concurrence in Middleton, questions that case
based on its fractured rationale and its continued reliance on
United States v. Torres-Miguel, 701 F.2d 165, 168-69 (4th Cir.
2012), partially abrogated by United States v. Castleman, ____
U.S. ____, 134 S. Ct. 1405 (2014). However, Middleton is a
published opinion of the Fourth Circuit and, therefore, binding
precedent which this court must follow.
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Thus, the language used appears broader than language limited to

only uses of violent force. See United States v. Torres-Miguel,

701 F.2d 165, 168-69 (4th Cir. 2012) (discussing similarly broad

statutes). This reading is also consistent with the “broad

purpose” of the statute, which was to “maintain[] the integrity

of the judicial process” by “giv[ing] greater protection to . .

. witnesses.” United States v. Cofield, 11 F.3d 413, 419 (4th

Cir. 1993).

     A review of cases from the Fourth Circuit and other Circuit

Courts of Appeals reveals that courts defining the elements of

the crime consistently use language that does not narrow the

term “conduct” or limit “conduct” to only uses of violent force.

The Fourth Circuit holds that “[t]he elements of an offense

under 18 U.S.C. § 1513 are (1) knowing engagement in conduct (2)

either causing, or threatening to cause, bodily injury to

another person (3) with the intent to retaliate for, inter alia,

the attendance or testimony of a witness at an official

proceeding.” Id. Other Circuit Courts of Appeals, although

defining the crime in slightly different ways, are in close




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agreement on the point of only using the broad term “conduct” to

describe the action necessary to violate the statute. 5

     This expansive definition of conduct is also generally

supported by various model jury instructions. Modern Federal

Jury Instructions - Criminal lists the three elements that must

be proved for a conviction under § 1513 as being “[f]irst, that

the defendant knowingly engaged in the conduct alleged in the

indictment, . . . [s]econd, that the defendant’s conduct caused


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      See United States v. Gadson, 763 F.3d 1189, 1217 (9th Cir.
2014) (quoting United States v. Henderson, 626 F.3d 326, 342
(6th Cir. 2010) for the proposition that “[t]o prove a violation
of § 1513(b)(2), the government must show: ‘(1) knowing
engagement in conduct (2) either causing, or threatening to
cause, bodily injury to another person (3) with the intent to
retaliate for, inter alia,’ providing information relating to a
federal offense to a law enforcement officer”); United States v.
Wardell, 591 F.3d 1279, 1292 (10th Cir. 2009) (“To convict a
defendant under § 1513(b)(1), the government must prove beyond a
reasonable doubt that (1) the defendant knowingly engaged in
conduct either causing, or threatening to cause, bodily injury
to another person, and (2) acted with the intent to retaliate
for, inter alia, the testimony of a witness at an official
proceeding.”); United States v. Draper, 553 F.3d 174, 180 (2d
Cir. 2009) (“[T]o sustain a witness retaliation charge, the
government must establish three elements: One, the defendant
engaged in conduct that caused or threatened a witness with
bodily injury; two, the defendant acted knowingly, with the
specific intent to retaliate against the witness for information
the witness divulged to law enforcement authorities about a
federal offense; and three, the officials to which the witness
divulged information were federal agents.”); United States v.
Paradis, 802 F.2d 553, 562 (1st Cir. 1986) (citing United States
v. Cummiskey, 728 F.2d 200, 206 (3d Cir. 1984), for the
proposition that “[s]ection 1513 requires proof of (1) knowing
engagement in conduct; (2) either causing or threatening to
cause, bodily injury to another person; (3) with intent to
retaliate against any person for, inter alia, providing
information relating to the commission of a federal offense”).
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bodily harm to [name of person] . . . and [t]hird, the defendant

acted with intent to retaliate” against the person harmed for

being a witness or giving information concerning a federal

offense. 2-46 Modern Federal Jury Instructions--Criminal, ¶

46.12, Instruction 46-74 (Matthew Bender). Regarding the second

element, a separate instruction states in pertinent part that

“the government must prove beyond a reasonable doubt that the

defendant’s conduct caused bodily injury to” the witness, but

that “it is not necessary that the defendant himself caused the

bodily injury. It is sufficient if you find that the defendant

knowingly participated in some activity which caused the

consequence or effect of injuring” the witness. Id., Instruction

46-76. This instruction very clearly separates a defendant’s

conduct from any intent to cause a bodily injury, thereby

allowing for convictions under a broad range of conduct.

     Pattern jury instructions for the Third Circuit Court of

Appeals and the United States District Court for the District of

South Carolina track the language of the cases cited above which

require only knowing conduct, with a separate element requiring

the causation of bodily injury.      See Third Circuit Model

Criminal Jury Instructions, Instruction 6.18.1513B (2004)

available at http://www.ca3.uscourts.gov/model-jury-

instructions; Eric Wm. Ruschky, Pattern Jury Instructions for

Federal Criminal Cases, District of South Carolina § 1513(b)

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(2018 online ed.) available at http://www.scd.uscourts.gov/pji/.

There is an instruction from the Eighth Circuit Court of Appeals

which differs somewhat from the case law and instructions cited

above. Manual of Model Criminal Jury Instructions for the

District Courts of the Eighth Circuit, Instruction 6.18.1513

(2014 online ed.) available at

http://www.juryinstructions.ca8.uscourts.gov/criminal_instructio

ns.htm. That instruction lists only two elements, with one being

that the defendant knowingly caused bodily injury to the witness

and the other being that he did so with intent to retaliate. The

instruction does not mention “conduct” and, unlike the other

formulations of the elements of § 1513(a)(1), ties the term

“knowingly” not to the conduct engaged in, but to the causation

of bodily injury to the witness. This instruction could be read

to require a use of violent force by a defendant. However, the

court did not locate any examples of its use and the instruction

appears to be an outlier in conflict with the other instructions

and, more importantly, with the elements of § 1513(a)(1) as

established by the Fourth Circuit in Cofield, supra.

     In the end, the plain language of § 1513(a)(1), its broad

statutory purpose, the formulation of its elements by the Fourth

Circuit and other Circuit Courts of Appeals, and the majority of

the jury instructions cited above all favor a reading of §

1513(a)(1) allowing for a conviction based on conduct causing

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bodily injury to a witness even though that conduct does not

amount to a use of violent force sufficient to satisfy the ACCA.

As the Government points out in its Supplemental Response (Doc.

148), the typical case prosecuted under § 1513(a)(1) will

include the use of violent force and an actual intent to cause

bodily harm.      However, this does not mean that the statute does

not cover more. Because “[t]he ACCA’s force clause is written

too narrowly to encompass such a broad range of criminal

behavior” as is covered by § 1513(a)(1), Petitioner’s conviction

under that statute is no longer a valid ACCA predicate.

Middleton, 883 F.3d at 492. Petitioner does not have the three

predicate convictions necessary to sustain his sentence under

the ACCA. His § 2255 Motion, as amended, will be granted on that

basis, and the matter will be set for resentencing. 6

     IT IS THEREFORE ORDERED that Petitioner’s Motion (Doc. 120)

and Amended Motion (Doc. 125) to vacate, set aside or correct

sentence under 28 U.S.C. § 2255 are GRANTED and the Clerk is

directed to set this matter for resentencing, unless Petitioner,

through counsel, requests the entry of a corrected judgment.



     6
      The parties do not discuss the issue, but it appears that
Petitioner has served more than the ten-year maximum allowed by
statute for a conviction under 18 U.S.C. § 922(g)(1) absent the
ACCA enhancement. If this is the case, Petitioner’s attorney may
request the alternative remedy of a corrected judgment
sentencing Petitioner to the ten-year maximum in order to
expedite matters.
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     Petitioner remains in custody, and the United States

Attorney is directed to produce Petitioner for the resentencing

hearing. The Probation Office is directed to prepare a

Supplement to the Presentence Investigation Report in advance of

the hearing.

     This the 24th day of April, 2018.




                           ______________________________________
                               United States District Judge




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